                                Case 18-11699-MFW                             Doc 1         Filed 07/22/18                Page 1 of 28

Fill in this information to identify the case

United States Bankruptcy Court for the:

                          District of   Delaware
                                        (State)
Case number (If known):                                      Chapter       11

                                                                                                                                                   ☐ Check if this is
                                                                                                                                                   an amended filing

   Official Form 201
   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  04/16
  If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
  known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


   1.   Debtor’s name                             The NORDAM Group, Inc.


   2.   All other names debtor used
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names



   3.   Debtor’s federal Employer
        Identification Number (EIN)               XX-XXXXXXX


   4.   Debtor’s       Principal place of business                                                        Mailing address, if different from principal place of business
        address
                       6910                       North Whirlpool Drive
                       Number                     Street                                                  Number                      Street



                                                                                                          P.O. Box


                       Tulsa                      OK                 74117
                       City                       State              ZIP Code                             City                        State           ZIP Code

                                                                                                          Location of principal assets, if different from principal place
                                                                                                          of business
                       Tulsa County
                       County
                                                                                                          Number                      Street




                                                                                                          City                        State           ZIP Code



   5.   Debtor’s website (URL)                    www.nordam.com



   6.   Type of debtor                            ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ☐ Partnership (excluding LLP)
                                                  ☐ Other. Specify:



Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             Page 1



WEIL:\96595931\14\64643.0003
Debtor
                                      Case 18-11699-MFW                Doc 1         Filed 07/22/18     Page 2 of 28
                                                                                                Case number (if known)
                 The NORDAM Group, Inc.
                 Name


                                            A. Check one:
 7.      Describe debtor’s business
                                            ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                            ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            ☒   None of the above


                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                3364 - Aerospace Product and Parts Manufacturing


                                            Check one:
 8.      Under which chapter of the
         Bankruptcy Code is the             ☐ Chapter 7
         debtor filing?                     ☐ Chapter 9
                                            ☒ Chapter 11. Check all that apply:
                                                             ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                               insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                               on 4/01/19 and every 3 years after that).
                                                             ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return or
                                                               if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                               1116(1)(B).
                                                             ☐ A plan is being filed with this petition.
                                                             ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                             ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                               the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                               Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                               Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                               with this form.
                                                             ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                               1934 Rule 12b-2.
                                            ☐ Chapter 12


 9.      Were prior bankruptcy cases        ☒ No
         filed by or against the debtor
                                            ☐ Yes        District                       When                          Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                               MM/ DD/ YYYY
         separate list.
                                                         District                       When                          Case number

                                                                                                      MM / DD/ YYYY

 10. Are any bankruptcy cases               ☐ No
     pending or being filed by a
                                            ☒ Yes        Debtor         See attached Schedule 1                       Relationship
     business partner or an
     affiliate of the debtor?                            District                                                     When
         List all cases. If more than 1,
                                                         Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.



Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        Page 2



WEIL:\96595931\14\64643.0003
Debtor
                               Case 18-11699-MFW                         Doc 1         Filed 07/22/18     Page 3 of 28
                                                                                                  Case number (if known)
                The NORDAM Group, Inc.
                Name


   11. Why is the case filed in this         Check all that apply:
       district?
                                             ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                  immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             ☐    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                             ☒ No
     possession of any real
     property or personal property           ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate                               Why does the property need immediate attention? (Check all that apply.)
     attention?                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                             health or safety.
                                                             What is the hazard?
                                                        ☐    It needs to be physically secured or protected from the weather.
                                                        ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                             without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                             securities-related assets or other options).


                                                        ☐ Other


                                                      Where is the property?
                                                                                         Number                 Street


                                                                                         City                              State               ZIP Code
                                                      Is the property insured?
                                                                                          ☐ No
                                                                                         ☐ Yes. Insurance agency
                                                                                                    Contact Name
                                                                                                    Phone




                Statistical and administrative information



   13. Debtor’s estimation of            Check one:
       available funds                   ☒    Funds will be available for distribution to unsecured creditors.
                                         ☐    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of               
                                         ☐    1-49                                      ☒       1,000-5,000                        ☐   25,001-50,000
       creditors                         ☐    50-99                                     ☐       5,001-10,000                       ☐   50,001-100,000
         (on a consolidated basis)       ☐    100-199                                   ☐       10,001-25,000                      ☐   More than 100,000
                                         ☐    200-999

   15. Estimated assets                  ☐    $0-$50,000                                ☐       $1,000,001-$10 million             ☒   $500,000,001-$1 billion
         (on a consolidated basis)       ☐    $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
                                         ☐    $100,001-$500,000                         ☐       $50,000,001-$100 million           ☐   $10,000,000,001-$50 billion
                                         ☐    $500,001-$1 million                       ☐       $100,000,001-$500 million          ☐   More than $50 billion

   16. Estimated liabilities             ☐    $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
       (on a consolidated basis)         ☐    $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
                                         ☐    $100,001-$500,000                         ☐       $50,000,001-$100 million           ☐   $10,000,000,001-$50 billion
                                         ☐    $500,001-$1 million                       ☒       $100,000,001-$500 million          ☐   More than $50 billion


Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                Page 3



WEIL:\96595931\14\64643.0003
Case 18-11699-MFW   Doc 1   Filed 07/22/18   Page 4 of 28
                   Case 18-11699-MFW        Doc 1     Filed 07/22/18         Page 5 of 28




                                                Schedule 1

                     Pending Bankruptcy Cases Filed by the Debtor and Its Affiliates

               On the date hereof, the debtor in this chapter 11 case and each of the affiliates
identified below, filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the District of Delaware (the “Court”). A
motion will be filed with the Court requesting that the chapter 11 cases of the entities listed
below be consolidated for procedural purposes only and jointly administered, pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number assigned to the
chapter 11 case of The NORDAM Group, Inc.

                          COMPANY                    CASE NUMBER                   DISTRICT

            The NORDAM Group, Inc.                Case No. 18-______ (___)          Delaware

            Nacelle Manufacturing 1 LLC           Case No. 18-______ (___)          Delaware

            Nacelle Manufacturing 23 LLC          Case No. 18-______ (___)          Delaware

            PartPilot LLC                         Case No. 18-______ (___)          Delaware

            TNG DISC, Inc.                        Case No. 18-______ (___)          Delaware




WEIL:\96595931\14\64643.0003
              Case 18-11699-MFW           Doc 1       Filed 07/22/18   Page 6 of 28




                                    ACTION BY
                        JOINT UNANIMOUS WRITTEN CONSENT
                                       OF
                             THE NORDAM GROUP, INC.
                          NACELLE MANUFACTURING 1 LLC
                          NACELLE MANUFACTURING 23 LLC
                                 PARTPILOT LLC
                                  TNG DISC, INC.

                                           July 22, 2018

                The undersigned, being (a) all of the members of the board of directors, (b) all of
the managers of the board of managers, or (c) the sole member, as the case may be (in each case,
the “Governing Body”), of the entities specified on the signature pages hereto (each such entity
individually, a “Company”), do hereby consent to and adopt and approve by written consent, in
accordance with the laws of Delaware, the following resolutions and each and every action
effected thereby:

               WHEREAS, each Governing Body has reviewed and has had the opportunity to
ask questions about the materials presented by the management and the legal and financial
advisors of such Company regarding the liabilities and liquidity of such Company, the strategic
alternatives available to it, and the impact of the foregoing on such Company’s business;

               WHEREAS, each Governing Body has had the opportunity to consult with the
management and the legal and financial advisors of such Company to evaluate, and has
evaluated, the strategic alternatives available to such Company; and

               WHEREAS, each Governing Body desires to approve the following resolutions.

Commencement of Chapter 11 Cases

               NOW, THEREFORE, BE IT RESOLVED, that, with respect to each
Company, its Governing Body has determined, after consultation with the management and the
legal and financial advisors of such Company, that it is desirable and in the best interests of such
Company, its shareholders, creditors, and other parties in interest that a petition be filed with the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) by such
Company seeking relief under the provisions of chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”); and be it further

               RESOLVED, that any officer of such Company (each, an “Authorized
Person”), in each case, acting singly or jointly, be, and each hereby is, authorized, empowered,
and directed, with full power of delegation, to negotiate, execute, deliver, and file with the
Bankruptcy Court, in the name and on behalf of such Company, and under its corporate seal or
otherwise, all plans, petitions, schedules, statements, motions, lists, applications, pleadings,
papers, affidavits, declarations, orders and other documents (collectively, the “Chapter 11
Filings”) (with such changes therein and additions thereto as any such Authorized Person may
deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11



                                                  1
                   Case 18-11699-MFW    Doc 1       Filed 07/22/18   Page 7 of 28




Filings by any such Authorized Person with any changes thereto to be conclusive evidence that
any such Authorized Person deemed such changes to meet such standard); and be it further

                RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to take and perform any and all further acts
and deeds that such Authorized Person deems necessary, appropriate, or desirable in connection
with such Company’s chapter 11 case (each, a “Chapter 11 Case”) or the Chapter 11 Filings,
including (a) the payment of fees, expenses, and taxes such Authorized Person deems necessary,
appropriate, or desirable, and (b) negotiating, executing, delivering, performing, and filing any
and all additional documents, schedules, statements, lists, papers, agreements, certificates or
instruments (or any amendments or modifications thereto); and be it further

Appointment of Chief Restructuring Officer

               RESOLVED, that John C. DiDonato hereby is appointed Chief Restructuring
Officer of each Company, and shall be an Authorized Person authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of each Company, to (a) have
sole and complete disbursement authority for each Company (provided that an employee of each
Company may physically write the checks or initiate the disbursement therefor, including the
authority of the Chief Restructuring Officer to pay each Company’s legal and professional
advisory fees), (b) review and approve in advance all disbursements made by any Company
(including disbursements necessary to pay professional fees of any Company), (c) have authority
to make all decisions regarding day-to-day operations, (d) directly report, from time to time, to
the Restructuring Committee of the Governing Body of The NORDAM Group, Inc., (e) review
and approve in advance all asset sales outside of the ordinary course made by any Company, and
(f) take and perform any and all further acts and deeds deemed necessary, appropriate, or
desirable in connection with such Company’s Chapter 11 Case or the Chapter 11 Filings; and be
it further

Debtor-in-Possession Financing

               RESOLVED, that it is in the best interests of each Company to enter into, and
each Company will obtain benefits from, the lending transactions under that certain senior
secured, superpriority administrative expense debtor-in-possession revolving credit facility (the
“DIP Financing” and the credit agreement related thereto together with any exhibits and
schedules, collectively, the “DIP Credit Agreement”) in an aggregate principal amount of $45
million to be entered into between The NORDAM Group, Inc., as borrower, and PartPilot, LLC,
Nacelle Manufacturing 1, LLC, Nacelle Manufacturing 23, LLC, and TNG Disc, Inc., each as
guarantors, the lenders from time to time party thereto (the “Lenders”), and JPMorgan Chase
N.A., as administrative agent, subject to Bankruptcy Court approval, which is necessary and
appropriate to the conduct, promotion, and attainment of the businesses of each Company; and
be it further

              RESOLVED, that the form, terms, and provisions of each of (a) the DIP Credit
Agreement and (b) any and all of the other agreements, certificates, documents and instruments
authorized, executed, delivered, reaffirmed, verified, or filed in connection with the DIP



                                                2
WEIL:\96595931\14\64643.0003
                   Case 18-11699-MFW     Doc 1       Filed 07/22/18   Page 8 of 28




Financing (together with the DIP Credit Agreement, collectively, the “DIP Financing
Documents”) and each Company’s performance of its obligations thereunder, including the
borrowings and guarantees contemplated thereunder, are hereby, in all respects confirmed,
ratified, and approved; and be it further

              RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to negotiate and approve the terms,
provisions of and performance of, and to prepare, execute, and deliver the DIP Financing
Documents; and be it further

               RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to grant security interests in, and liens on,
any and all property of the Company as collateral pursuant to the DIP Financing Documents to
secure all of the obligations and liabilities of the Company thereunder to the Lenders and to
authorize, execute, verify, file or deliver to the Lenders all agreements, documents, and
instruments required by the Lenders in connection with the foregoing; and be it further

                RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to take all such further actions, including to
pay all fees and expenses in accordance with the terms of the DIP Financing Documents, which
shall, in such Authorized Person’s judgment, be necessary, proper or advisable to perform such
Company’s obligations under or in connection with the DIP Financing Documents and the
transactions contemplated therein and to carry out fully the intent of the foregoing resolutions;
and be it further

               RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
of any of the DIP Financing Documents which shall, in such Authorized Person’s judgment, be
necessary, proper or advisable; and be it further

Retention of Advisors

               RESOLVED, that, in connection with the Chapter 11 Case, any Authorized
Person, in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of such Company, to employ
and retain all assistance by legal counsel, accountants, financial advisors, investment bankers,
and other professionals on behalf of such Company that such Authorized Person deems
necessary, appropriate, or advisable in connection with, or in furtherance of, the Chapter 11
Case, with a view to the successful prosecution of the Chapter 11 Case (such acts to be
conclusive evidence that such Authorized Person deemed the same to meet such standard); and
be it further




                                                 3
WEIL:\96595931\14\64643.0003
                   Case 18-11699-MFW      Doc 1       Filed 07/22/18   Page 9 of 28




               RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, New York 10153, is hereby retained as counsel for each Company in
its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the law firm of Richards, Layton & Finger, P.A., located at
One Rodney Square, 920 North King Street, Wilmington, Delaware 19801, is hereby retained as
local counsel for each Company in its Chapter 11 Case, subject to Bankruptcy Court approval;
and be it further

              RESOLVED, that the firm of Huron Consulting Services, LLC, located at 550
W. Van Buren Street, Chicago, Illinois 60607, is hereby retained as financial advisor for each
Company in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

              RESOLVED, that the firm of Guggenheim Securities, LLC, located at 330
Madison Avenue, New York, New York 10017, is hereby retained as investment banker for each
Company in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the firm of Epiq Corporate Restructuring, LLC, located at 777
Third Avenue, New York, New York 10017, is hereby retained as claims, noticing and
solicitation agent, and administrative advisor for each Company in its Chapter 11 Case, subject
to Bankruptcy Court approval; and be it further

               RESOLVED, that, with respect to each Company, any Authorized Person, in
each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed,
with full power of delegation, in the name and on behalf of such Company, to take and perform
any and all further acts and deeds, including (a) the payment of any consideration, (b) the
payment of fees, expenses and taxes such Authorized Person deems necessary, appropriate, or
desirable, and (c) negotiating, executing, delivering, performing, and filing any and all
documents, motions, pleadings, applications, declarations, affidavits, schedules, statements, lists,
papers, agreements, certificates or instruments (or any amendments or modifications thereto) in
connection with the engagement of professionals contemplated by the foregoing resolutions
(such acts to be conclusive evidence that such Authorized Person deemed the same to meet such
standard); and be it further

General

                RESOLVED, that, with respect to each Company, any Authorized Person, any
one of whom may act without the joinder of any of the others, hereby is authorized, empowered,
and directed, with full power of delegation, in the name and on behalf of such Company, to take
and perform any and all further acts or deeds, including (a) the negotiation of such additional
agreements, amendments, modifications, supplements, reports, documents, instruments,
applications, notes or certificates not now known but which may be required, (b) the execution,
delivery and filing (if applicable) of any of the foregoing, and (c) the payment of all fees, consent
payments, taxes, and other expenses as any such Authorized Person, in his or her sole discretion,
may approve or deem necessary, appropriate, or desirable to carry out the intent and accomplish
the purposes of the foregoing resolutions and the transactions contemplated thereby, all of such




                                                  4
WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW     Doc 1       Filed 07/22/18   Page 10 of 28




actions, executions, deliveries, filings, and payments to be conclusive evidence of such approval
or that such Authorized Person deemed the same to meet such standard; and be it further

                RESOLVED, that any and all past actions heretofore taken by any Authorized
Person, any director, manager, or member of any Company in the name and on behalf of such
Company in furtherance of any or all of the preceding resolutions be, and the same hereby are,
ratified, confirmed, and approved in all respects.

                                  [Signature Pages to Follow]




                                                5
WEIL:\96595931\14\64643.0003
              Case 18-11699-MFW          Doc 1    Filed 07/22/18      Page 11 of 28




               IN WITNESS WHEREOF, the undersigned, being all of the members of the
board of directors of The NORDAM Group, Inc., hereby consent to, adopt, and authorize the
foregoing resolutions as of the date first written above.



BOARD OF DIRECTORS OF THE NORDAM GROUP, INC.:



/s/ Paul Kenneth Lackey, Jr.                            /s/ Milann H. Siegfried

Paul Kenneth Lackey, Jr.                                Milann H. Siegfried

/s/ T. Hastings Siegfried                               /s/ Meredith Siegfried Madden

T. Hastings Siegfried                                   Meredith Siegfried Madden

/s/ J. Terrell Siegfried                                /s/ Bailey J. Siegfried

J. Terrell Siegfried                                    Bailey J. Siegfried

/s/ Lynn Brubaker                                       /s/ William E. Lobeck

Lynn Brubaker                                           William E. Lobeck

/s/ William L. Peacher                                  /s/ Jonathan M. Schofield

William L. Peacher                                      Jonathan M. Schofield

/s/ Raegen H. Siegfried                                 /s/ Michael J. Shonka

Raegen H. Siegfried                                     Michael J. Shonka

/s/ Thomas J. Allison                                   /s/ David L. Eaton

Thomas J. Allison                                       David L. Eaton




            [Signature Page to Joint Unanimous Written Consent – The NORDAM Group, Inc.]
                  Case 18-11699-MFW        Doc 1     Filed 07/22/18     Page 12 of 28




                IN WITNESS WHEREOF, the undersigned, being the sole member of Nacelle
Manufacturing 1 LLC, hereby consents to, adopts, and authorizes the foregoing resolutions as of
the date first written above.



SOLE MEMBER OF NACELLE MANUFACTURING 1 LLC:



                                                        THE NORDAM GROUP, INC.




                                                          /s/ Meredith Siegfried Madden

                                                          Meredith Siegfried Madden




            [Signature Page to Joint Unanimous Written Consent – Nacelle Manufacturing 1 LLC]

WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW        Doc 1    Filed 07/22/18      Page 13 of 28




                 IN WITNESS WHEREOF, the undersigned, being the sole member of Nacelle
Manufacturing 23 LLC, hereby consents to, adopts, and authorizes the foregoing resolutions as
of the date first written above.



SOLE MEMBER OF NACELLE MANUFACTURING 23 LLC:



                                                       THE NORDAM GROUP, INC.




                                                          /s/ Meredith Siegfried Madden

                                                          Meredith Siegfried Madden




           [Signature Page to Joint Unanimous Written Consent – Nacelle Manufacturing 23 LLC]

WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW           Doc 1     Filed 07/22/18      Page 14 of 28




               IN WITNESS WHEREOF, the undersigned, being all of the members of the
board of managers and the sole member of PartPilot LLC, hereby consent to, adopt, and
authorize the foregoing resolutions as of the date first written above.



BOARD OF MANAGERS OF PARTPILOT LLC:




                                                             /s/ Meredith Siegfried Madden

                                                             Meredith Siegfried Madden



                                                             /s/ Michael R. Hughett
                                                             Michael R. Hughett



                                                             /s/ J. Terrell Siegfried
                                                             J. Terrell Siegfried




SOLE MEMBER OF PARTPILOT LLC:



                                                           THE NORDAM GROUP, INC.




                                                             /s/ Meredith Siegfried Madden

                                                             Meredith Siegfried Madden




                      [Signature Page to Joint Unanimous Written Consent – PartPilot LLC]

WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW           Doc 1    Filed 07/22/18      Page 15 of 28




                IN WITNESS WHEREOF, the undersigned, being all of the members of the
board of directors of TNG Disc, Inc., hereby consent to, adopt, and authorize the foregoing
resolutions as of the date first written above.



BOARD OF DIRECTORS OF TNG DISC, INC.:




                                                             /s/ T. Hastings Siegfried

                                                             T. Hastings Siegfried



                                                             /s/ Michael R. Hughett
                                                             Michael R. Hughett



                                                             /s/ J. Terrell Siegfried
                                                             J. Terrell Siegfried




                     [Signature Page to Joint Unanimous Written Consent – TNG DISC, Inc.]

WEIL:\96595931\14\64643.0003
                                   Case 18-11699-MFW                          Doc 1             Filed 07/22/18               Page 16 of 28




    Fill in this information to identify the case:

    Debtor name: The NORDAM Group, Inc.
    United States Bankruptcy Court for the:                 District of Delaware
                                                                              (State)
    Case number (If known):

                                                                                                                                                             ☐ Check if this is an
                                                                                                                                                             amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
    Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                                12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.
Name of creditor and complete mailing     Name, telephone number, and                   Nature of the claim      Indicate if     Amount of unsecured claim
address, including zip code               email address of creditor contact             (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                        debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                                        professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                                        and government           or disputed     setoff to calculate unsecured claim.
                                                                                        contracts)
                                                                                                                                  Total claim, if     Deduction for        Unsecured claim
                                                                                                                                    partially            value of
                                                                                                                                    secured            collateral or
                                                                                                                                                          setoff
1      Hexcel Corporation                 Attn.: Lise Salustri                          Trade                                                                             $5,101,970.95
       281 Tresser Boulevard              Phone: 925‐520‐4608
       16th Floor                         Email: Lise.Salustri@hexcel.com
       Stamford, CT 06901‐3261 USA
2      Infosys Limited                    Attn.: Venkateswarlu (Venkat)                 Trade                                                                             $3,689,864.41
       Hebbal Electronics City            Devarapalli
       Mysore 10 570027 India             Phone: 469‐412‐5585
                                          Email:
                                          vdevarapalli@nordam.com
3      Cytec Engineered Materials, Inc.   Attn.: David Fritz                            Trade                                                                             $2,032,420.01
       285 East Technology Circle         Phone: 480‐730‐2180
       Suite 300                          Email: david.fritz@solvay.com
       Tempe, AZ 85284 USA
4      MSC Industrial Supply Co, Inc.     Attn.: Kerri Miller                           Trade                                                                             $1,996,520.99
       75 Maxess Road                     Phone: 918‐712‐4340
       Melville, NY 11747‐3151 USA        Email: MillerKe@mscdirect.com


5      KLX, Inc.                          Attn.: Jerrad Brenzikofer                     Trade                                                                             $1,913,571.78
       1300 Corporate Center Way          Phone: 316‐630‐4963
       Wellington, FL 33414 USA           Email:
                                          JERRAD.BRENZIKOFER@KLX.COM
6      Arrowhead Products                 Attn.: Margo Snowden                          Trade                                                                             $1,695,775.23
       4411 Katella Ave                   Phone: 714‐822‐2556
       Los Alamitos, CA 90720 USA         Email:
                                          Msnowden@ArrowheadProducts
                                          .net
7      Warner Robins Air Logistics        Attn.: Eric Armour                            Trade                                                                             $1,559,068.37
       Complex                            Phone: 478‐222‐3206
       420 Richard Ray Blvd               Email: ERIC.ARMOUR@US.AF.MIL
       Warner Robins, GA31098‐1640
       USA


    Official Form 204                            List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                Page 1



    WEIL:\96595931\14\64643.0003
                                     Case 18-11699-MFW                      Doc 1     Filed 07/22/18               Page 17 of 28



Name of creditor and complete mailing   Name, telephone number, and           Nature of the claim      Indicate if     Amount of unsecured claim
address, including zip code             email address of creditor contact     (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                                              debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                              and government           or disputed     setoff to calculate unsecured claim.
                                                                              contracts)
                                                                                                                        Total claim, if     Deduction for        Unsecured claim
                                                                                                                          partially            value of
                                                                                                                          secured            collateral or
                                                                                                                                                setoff
8       A&G Machine, Inc.               Attn.: Matthew Bakken                 Trade                                                                             $1,254,551.98
        1231 37th Street                Phone: 253‐887‐8433
        NW Auburn, WA 98001‐2417        Email: Matthew@agmach.com
        USA
9       Visioneering, Inc.              Attn.: Patrick Guido                  Trade                                                                             $1,224,073.00
        2055 Taylor Road                Phone: 248‐622‐5622
        Auburn Hills, MI 48326 USA      Email: pquido@vistool.com


10      Pryer Aerospace LLC‐Tulsa       Attn: Brent Pryer                     Trade                                                                             $1,190,203.34
        2230 North Sheridan Road        Phone: 918‐835‐8885
        Tulsa, OK 74115 USA             Email: sales@pryer.aero


11      Microsoft Corporation           Attn.: Brian Peralta                  Trade                                                                             $1,184,082.16
        7100 North State Hwy 161        Phone: 425‐897‐1131
        Irving, TX 75039 USA            Email: v‐briper@microsoft.com


12      Ducommun Labarge                Attn.: Leslie Hall                    Trade                                                                             $1,077,807.75
        Technologies, Inc.              Phone: 417‐781‐3200 x77836,
        1505 Maiden Lane                Email: Lhall@ducommun.com
        Joplin, MO 64804 USA
13      Baker Aerospace Tooling &       Attn.: Jay Held                       Trade                                                                             $1,057,615.00
        Machining                       Phone: 586‐286‐4900 x358,
        16936 Enterprise Drive          Email:
        Macomb, MI 48044 USA            jheld@bakerindustriesinc.com
14      APA Aviation Staffing LLC       Attn.: Nicole Minter                  Staffing Agency                                                                   $1,024,014.45
        4150 International Plaza        Phone: 817‐289‐2754
        Fort Worth, TX 76109 USA        Email: nminter@apaservices.net


15      Green Metal Fabricators         Attn.: Rebecca Green                  Trade                                                                             $949,217.54
        906 West Skelly Drive           Phone: 918‐446‐1571
        Tulsa, OK 74107 USA             Email:
                                        Rebecca.gmf@tulsacoxmail.com
16      Verstar Group, Inc.             Attn.: Karly Bolton                   Trade                                                                             $948,477.00
        50305 Patricia Street           Phone: 586‐265‐2575
        Chesterfield, MI 48051 USA      Email:
                                        kbolton@thatsaccurate.com
17      Goodrich Aerostructures Group   Attn.: Terri Shook                    Trade                                                                             $933,547.00
        850 Lagoon Drive                Phone: 918‐651‐3525
        Chula Vista, CA 91910 USA       Email:
                                        FSSCASHREMIT@UTAS.UTC.COM
18      Advanced Machine &              Attn.: Vanessa Hester                 Trade                                                                             $888,823.02
        Fabricating, Inc.               Phone: 918‐664‐5410
        11212 East 112th Street         Email: vhester@advcosinc.com
        North Owasso, OK 74055 USA
19      Aviall, Inc.                    Attn.: Connie Moore                   Trade                                                                             $801,510.23
        2750 Regent Boulevard           Phone: 972‐586‐1728
        Dallas, TX 75261‐9048 USA       Email: connie.moore@aviall.com




     Official Form 204                         List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 2



     WEIL:\96595931\14\64643.0003
                                    Case 18-11699-MFW                         Doc 1     Filed 07/22/18               Page 18 of 28



Name of creditor and complete mailing     Name, telephone number, and           Nature of the claim      Indicate if     Amount of unsecured claim
address, including zip code               email address of creditor contact     (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in total
                                                                                professional services,   unliquidated,   claim amount and deduction for value of collateral or
                                                                                and government           or disputed     setoff to calculate unsecured claim.
                                                                                contracts)
                                                                                                                          Total claim, if     Deduction for        Unsecured claim
                                                                                                                            partially            value of
                                                                                                                            secured            collateral or
                                                                                                                                                  setoff
20      Green Country Aircraft Exhaust    Attn.: Wes Jones                      Trade                                                                             $790,661.41
        1876 North 106th East Ave         Phone: 918‐832‐1769
        Tulsa, OK 74116 USA               Email: accountingdept@green
                                          countryaircraft.com
21      Fiber Pad, Inc.                   Attn.: Geneva Phillips                Trade                                                                             $746,332.01
        17260 East Young Street           Phone: 918‐438‐7430
        Tulsa, OK 74116 USA               Email: gphillips@fiberpad.com


22      OMA SPA                           Attn.: Leonardo Borgna                Trade                                                                             $733,972.95
        Via Cagliari 20                   Phone: +39 0742 347576
        Foligno Pg 06034, Italy           Email: l.borgna@omafoligno.it


23      Coast Composites LLC              Attn.: Jacob Salas                    Trade                                                                             $731,250.00
        1395 S Lyon Street                Phone: 949‐455‐0665
        Santa Ana, CA 92705 USA           Email:
                                          Jacob.Salas@ascentaerospace.co
                                          m
24      Eaton Aeroquip LLC                Attn.: Shari Harlett                  Trade                                                                             $707,707.93
        300 S East Ave                    Phone: 616‐831‐8361
        Jackson, MI 49203 USA             Email: shariharlett@eaton.com


25      Sargent Controls & Aerospace      Attn.: Carrasco Renee                 Trade                                                                             $685,443.00
        5675 West Burlingame Road         Phone: 520‐744‐1000 x4711
        Tucson, AZ 85750 USA              Email: Rcarrasco@sargentaero
                                          space.com
26      Aeron Group LLC                   Attn.: Michelle Ivey                  Trade                                                                             $670,535.78
        1901 North Willow Ave             Phone: 918‐294‐1167
        Broken Arrow, OK 74012 USA        Email:
                                          michelleivey@aerongroup.com
27      Seyer Industries, Inc.            Attn.: Bethany Freeman                Trade                                                                             $570,382.00
        66 Patmos Court                   Phone: 636‐229‐4166
        St Peters, MO 63376 USA           Email: bfreeman@seyerind.com


28      Airbus Service Co, Inc.           Attn.: Elizabeth Gilmore              Trade                                                                             $562,503.46
        2550 Wasser Terrace               Phone: 703‐326‐3633
        Herndon, VA 20171 USA             Email:
                                          elizabeth.gilmore@airbus.com
29      Rolls Royce North America, Inc.   Attn.: Jamie Finlay                   License Royalty          Contingent,                                              N/A
        1421 Sweet Gum Circle             Phone: +44 (0)141 626 8245,                                    unliquidated,
        Keller, TX 76248 USA              Email: jamie.finlay@rolls‐                                     disputed
                                          royce.com
30      Pratt & Whitney Canada            Attn: David P.W. Emmerling            Contract                 Contingent,                                              N/A
        1000 Marie‐Victorin Boulevard           Irene Makris                                             unliquidated,
        Mail Code 01AA4                         Neil G. Mitchill, Jr.                                    disputed
        Longueuil, Quebec                 Phone: 860‐565‐5839
        J4G 1A1 Canada                             450‐677‐9411
                                                   860‐565‐4048
        400 Main Street                   Email:
        East Hartford, CT 06118 USA       david.emmerling@pw.utc.com
                                          Irene.markris@pwc.ca
                                          Neil.Mitchill@pw.utc.com



     Official Form 204                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                        Page 3



     WEIL:\96595931\14\64643.0003
                       Case 18-11699-MFW                       Doc 1          Filed 07/22/18          Page 19 of 28




Fill in this information to identify the case:

Debtor name: The NORDAM Group, Inc.
United States Bankruptcy Court for the:               District of Delaware
                                                                    (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is
    true and correct to the best of my information and belief:
    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
    ☐       Other document that requires a declaration

    I declare under penalty of perjury that the foregoing is true and correct to my knowledge, information, and belief.


    Executed on 07/22/2018
                                                        /s/ John C. DiDonato
                                                         Signature of individual signing on behalf of debtor
                    MM /DD /YYYY
                                                         John C. DiDonato
                                                         Printed name

                                                         Chief Restructuring Officer
                                                         Position or relationship to debtor




Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors

WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW              Doc 1        Filed 07/22/18   Page 20 of 28




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :       Chapter 11
                                                             :
THE NORDAM GROUP, INC.,                                      :       Case No. 18-______ (___)
                                                             :
                                    Debtor.                  :
                                                             :
------------------------------------------------------------ x

         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
         TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

                   Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, attached hereto as Exhibit A is an organizational chart reflecting all of the ownership

interests in The NORDAM Group, Inc. (“NORDAM”) and its affiliated debtors, as debtors and

debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”). The

Debtors respectfully represents as follows:

         1. To the best of the Debtors’ knowledge and belief, no entities own more than 10% of

              NORDAM’s equity interests other than:

                                    ENTITY                     PERCENTAGE OWNERSHIP

                        Robin Siegfried Revocable Trust                  16.01%

                        Milann H. Siegfried Revocable Trust              15.25%

                        Raegen Siegfried Revocable Trust                 11.17%


         2. NORDAM owns 100% of the equity interests of:

                   a. Nacelle Manufacturing 1 LLC;

                   b. Nacelle Manufacturing 23 LLC;

                   c. PartPilot LLC; and

                   d. TNG DISC, Inc.



WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW   Doc 1   Filed 07/22/18   Page 21 of 28




                                        Exhibit A

                                  Organizational Chart




WEIL:\96595931\14\64643.0003
                               Case 18-11699-MFW   Doc 1   Filed 07/22/18   Page 22 of 28




WEIL:\96595931\14\64643.0003
                       Case 18-11699-MFW                     Doc 1          Filed 07/22/18           Page 23 of 28




Fill in this information to identify the case:

Debtor name The NORDAM Group, Inc.
United States Bankruptcy Court for the:              District of Delaware
                                                                  (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is
    true and correct to the best of my information and belief:

    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
    ☐       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration Corporate Ownership Statement

    I declare under penalty of perjury that the foregoing is true and correct to my knowledge, information, and belief.


    Executed on 07/22/2018
                                                      /s/ John C. DiDonato
                                                       Signature of individual signing on behalf of debtor
                    MM / DD /YYYY
                                                       John C. DiDonato
                                                       Printed name

                                                       Chief Restructuring Officer
                                                       Position or relationship to debtor




Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors


WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW             Doc 1      Filed 07/22/18        Page 24 of 28




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
THE NORDAM GROUP, INC.,                                      :        Case No. 18-______ (___)
                                                             :
                                    Debtor.                  :
                                                             :
------------------------------------------------------------ x

                               LIST OF EQUITY SECURITY HOLDERS1

        Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
identifies all holders having a direct or indirect ownership interest, of the above-captioned debtor
in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

☒ The following are the debtor’s equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

       Name and Last Known Address of Equity                      Kind/Class             Number of Interests
                  Interest Holder                                 of Interest                 Held2

              Siegfried Family Voting Trust
                                                                   Series A
               6910 North Whirlpool Drive                        Voting Shares                   1,493
                 Tulsa, Oklahoma 74117




1
 This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure.
2
    As of July 15, 2018.




WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW              Doc 1   Filed 07/22/18      Page 25 of 28




     Name and Last Known Address of Equity                   Kind/Class            Number of Interests
                Interest Holder                              of Interest                Held2

                                                              Series A
         Milann H. Siegfried Revocable Trust                                              1,000
                                                            Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                        Series B
                                                                                        4,924.773
                                                          Nonvoting Shares

           Milann H. Siegfried Exempt Trust
                                                             Series B                  2,415.000
              6910 North Whirlpool Drive
                                                          Nonvoting Shares
                Tulsa, Oklahoma 74117

        Milann H. Siegfried Non-Exempt Trust
                                                             Series B                   805.000
              6910 North Whirlpool Drive
                                                          Nonvoting Shares
                Tulsa, Oklahoma 74117

                                                              Series A
         Ray H. Siegfried III Revocable Trust                                                51
                                                            Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                        Series B
                                                                                       2,298.559
                                                          Nonvoting Shares

                                                              Series A
     Theodore Hastings Siegfried Revocable Trust                                             51
                                                            Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                        Series B
                                                                                       2,298.559
                                                          Nonvoting Shares

                                                              Series A
     Meredith Siegfried Madden Revocable Trust                                               51
                                                            Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                        Series B
                                                                                       2,298.559
                                                          Nonvoting Shares

                                                              Series A
      Milann Siegfried Williams Revocable Trust                                              51
                                                            Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                        Series B
                                                                                       2,298.559
                                                          Nonvoting Shares

                                                              Series A
        Jude Terrell Siegfried Revocable Trust                                               51
                                                            Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                        Series B
                                                                                       2,298.559
                                                          Nonvoting Shares

                                                              Series A
       Bailey Joseph Siegfried Revocable Trust                                               51
                                                            Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                        Series B
                                                                                       2,298.559
                                                          Nonvoting Shares




WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW             Doc 1   Filed 07/22/18      Page 26 of 28




     Name and Last Known Address of Equity                  Kind/Class            Number of Interests
                Interest Holder                             of Interest                Held2

                                                             Series A
            Robin Siegfried Revocable Trust                                              913
                                                           Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                       Series B
                                                                                      5,307.848
                                                         Nonvoting Shares

         Cherrie L. Siegfried Revocable Trust
                                                            Series B                   336.965
              6910 North Whirlpool Drive
                                                         Nonvoting Shares
                Tulsa, Oklahoma 74117

                                                             Series A
           Raegen Siegfried Revocable Trust                                                 87
                                                           Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                       Series B
                                                                                      4,254.627
                                                         Nonvoting Shares

     Raymond Henry Siegfried III Exempt Child’s
                      Trust
                                                            Series B                    402.50
              6910 North Whirlpool Drive                 Nonvoting Shares
                Tulsa, Oklahoma 74117

  Raymond Henry Siegfried III Non-Exempt Child’s
                     Trust
                                                            Series B                   134.167
              6910 North Whirlpool Drive                 Nonvoting Shares
                Tulsa, Oklahoma 74117

  Theodore Hastings Siegfried Exempt Child’s Trust
                                                            Series B                    402.50
              6910 North Whirlpool Drive
                                                         Nonvoting Shares
                Tulsa, Oklahoma 74117

  Theodore Hastings Siegfried Non-Exempt Child’s
                       Trust
                                                            Series B                   134.167
              6910 North Whirlpool Drive                 Nonvoting Shares
                Tulsa, Oklahoma 74117

   Meredith Regina Siegfried Exempt Child’s Trust
                                                            Series B                    402.50
              6910 North Whirlpool Drive
                                                         Nonvoting Shares
                Tulsa, Oklahoma 74117

   Meredith Regina Siegfried Non-Exempt Child’s
                       Trust
                                                            Series B                   134.167
              6910 North Whirlpool Drive                 Nonvoting Shares
                Tulsa, Oklahoma 74117




WEIL:\96595931\14\64643.0003
                  Case 18-11699-MFW            Doc 1   Filed 07/22/18      Page 27 of 28




     Name and Last Known Address of Equity                 Kind/Class            Number of Interests
                Interest Holder                            of Interest                Held2

   Milann Helferich Siegfried Exempt Child’s Trust
                                                           Series B                    402.50
              6910 North Whirlpool Drive
                                                        Nonvoting Shares
                Tulsa, Oklahoma 74117

   Milann Helferich Siegfried Non-Exempt Child’s
                       Trust
                                                           Series B                   134.167
              6910 North Whirlpool Drive                Nonvoting Shares
                Tulsa, Oklahoma 74117

      Jude Terrell Siegfried Exempt Child’s Trust
                                                           Series B                    402.50
              6910 North Whirlpool Drive
                                                        Nonvoting Shares
                Tulsa, Oklahoma 74117

   Jude Terrell Siegfried Non-Exempt Child’s Trust
                                                           Series B                   134.167
              6910 North Whirlpool Drive
                                                        Nonvoting Shares
                Tulsa, Oklahoma 74117

     Bailey Joseph Siegfried Exempt Child’s Trust
                                                           Series B                    402.50
              6910 North Whirlpool Drive
                                                        Nonvoting Shares
                Tulsa, Oklahoma 74117

  Bailey Joseph Siegfried Non-Exempt Child’s Trust
                                                           Series B                   134.167
              6910 North Whirlpool Drive
                                                        Nonvoting Shares
                Tulsa, Oklahoma 74117




WEIL:\96595931\14\64643.0003
                       Case 18-11699-MFW                     Doc 1          Filed 07/22/18           Page 28 of 28




Fill in this information to identify the case:

Debtor name: The NORDAM Group, Inc.
United States Bankruptcy Court for the:              District of Delaware
                                                                  (State)
Case number (If known):




Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


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submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

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fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


             Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is
    true and correct to the best of my information and belief:
    ☐       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
    ☐       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐       Schedule H: Codebtors (Official Form 206H)
    ☐       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐       Amended Schedule ____
    ☐       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
           Other document that requires a declaration List of Equity Holders

    I declare under penalty of perjury that the foregoing is true and correct to my knowledge, information, and belief.


    Executed on 07/22/2018
                                                      /s/ John C. DiDonato
                                                       Signature of individual signing on behalf of debtor
                    MM / DD /YYYY
                                                       John C. DiDonato
                                                       Printed name

                                                       Chief Restructuring Officer
                                                       Position or relationship to debtor




Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors


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